                          UNITED STATES BANKRUPTCY COURT
                        FOR THE NORTHERN DISTRICT OF ALABAMA
                                  NORTHERN DISTRICT

                                                      §
       In re:                                         § Chapter 11
                                                      §
                                                      § Case No. 20-81688-CRJ11
       REMINGTON OUTDOOR COMPANY,                     §
       INC. et al.,1                                  § Jointly Administered
                                                      §
                       Debtors.                       §
                                                      §


        THE SANDY HOOK FAMILIES’ REVISED EXHIBIT AND WITNESS LIST

                      Donna L. Soto, Ian and Nicole Hockley, David C. Wheeler, Mary A.

   D’Avino, Mark and Jacqueline Barden, William D. Sherlach, Neil Heslin and Scarlett

   Lewis, Leonard Pozner, and Gilles J. Rousseau (the “Sandy Hook Families”), file this

   Revised Exhibit List for the hearing to be held on September 29, 2020 at 9:00 a.m. CDT

   remotely via Microsoft Teams Software.


                                             EXHIBITS


       NO. Description                    Mark     Offer Object Admit            W/D Disposition
                                                                                     After Trial
       1.       Final Cash Collateral
                Order, Ex. 1, ECF 410-1
       2.       2018 Annual Report of
                Remington Outdoor
                Company, Inc., dated
                December 31, 2018

   1
             The Debtors in these cases, along with the last four digits of each Debtor’s federal tax
   identification number, as applicable, are: Remington Outdoor Company, Inc. (4491); FGI Holding
   Company, LLC (9899); FGI Operating Company, LLC (9774); Remington Arms Company, LLC (0935);
   Barnes Bullets, LLC (8510); TMRI, Inc. (3522); RA Brands, L.L.C. (1477); FGI Finance, Inc. (0109);
   Remington Arms Distribution Company, LLC (4655); Huntsville Holdings LLC (3525); 32E Productions,
   LLC (2381); Great Outdoors Holdco, LLC (7744); and Outdoor Services, LLC (2405) (collectively, the
   “Debtors”). The Debtors’ corporate headquarters is located at 100 Electronics Blvd SW, Huntsville,
   Alabama 35824.




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    NO. Description                Mark   Offer Object Admit   W/D Disposition
                                                                   After Trial
    3.   2018 Q2 Remington
         Outdoor Company, Inc.
         Report, dated July 1,
         2018
    4.   2019 Annual Report of
         Remington Outdoor
         Company, Inc., dated
         December 31, 2019
    5.   Loan and Security
         Agreement by and
         among FGI Operating,
         as borrower, the
         Guarantors, the
         Administrative Agent,
         and the Lenders dated
         April 18, 2019
    6.   Project Strat:
         Investment Opportunity
         Overview
    7.   Declaration of Bradley
         Meyer ISO Debtors’
         Sale Motion, August 16,
         2020, ECF 355
    8.   Declaration of Ken
         D’Arcy ISO Chapter 11
         Petitions and First Day
         Pleadings of Remington
         Outdoor Company, Inc.
         and Its Affiliated
         Debtors and Debtors-in-
         Possession, ECF 6
    9.   Declaration of Tazewell
         T. Shepard IV ISO the
         Objection of the Sandy
         Hook Families to
         Debtors’ Motion for (I)
         An Order Establishing
         Bidding Procedure and
         Granting Related Relief
         and (II) An Order or
         Orders Approving the
         Sale of the Debtors’
         Asset, Exhibit A, ECF
         244-15




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    NO. Description                 Mark   Offer Object Admit   W/D Disposition
                                                                    After Trial
    10.   Transcript for the
          30(b)(6) deposition of
          Debtors’ Representative
          Bradley Meyer, taken
          on September 15, 2020

    11.   Transcript for the
          30(b)(6) deposition of
          Debtors’ Representative
          Colin Adams, taken on
          September 18, 2020
    12.   Proposed Asset
          Purchase Agreement
          with the Navajo Nation
    13.   Bid list created by
          Ducera, dated August
          11, 2020
    14.   Grant Thornton audit
          report of the Debtors’
          consolidated financial
          statements for the
          quarter ended April 1,
          2018
    15.   Debtors’ 13 Week Cash
          Forecast for December
          6, 2019
    16.   Debtors’ 13 Week Cash
          Forecast for December
          13, 2019
    17.   Grant Thornton audit
          report of the Debtors’
          consolidated financial
          statements as of
          December 31, 2017 and
          2016
    18.   Priority Secured Term
          Loan Facility
          Commitment Letter,
          dated March 30, 2019
    19.   ABL Lender Meeting,
          dated February 13, 2019
    20.   NDA Group Meeting,
          dated February 29, 2019




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    NO. Description                  Mark   Offer Object Admit   W/D Disposition
                                                                     After Trial
    21.   Inventory Valuation and
          Appraisal - September
          2019
    22.   Strategic Business Plan,
          dated September 30,
          2019
    23.   Financial Flash -
          December 2019
    24.   Confidential Investment
          Memorandum
    25.   Project Strat:
          Presentation to
          Restricted Shareholders,
          dated February 21, 2020
    26.   Remington Outdoor
          Company, Inc.:
          Discussion Materials,
          dated May 18, 2020
    27.   Freedom Group, Inc.’s
          commercial general
          liability insurance
          policy for $1 million
          covering December 1,
          2012 to December 1,
          2013
    28.   Freedom Group, Inc.’s
          commercial excess
          liability insurance
          policy for $10 million
          covering December 1,
          2012 to December 1,
          2013
    29.   Freedom Group, Inc.’s
          commercial umbrella
          liability insurance
          policy for $25 million
          covering December 1,
          2012 to December 1,
          2013
    30.   Freedom Group, Inc.’s
          catastrophe liability
          insurance policy for $25
          million covering




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          December 1, 2012 to
          December 1, 2013
    31.   Freedom Group, Inc.’s
          commercial excess
          liability insurance
          policy for $15 million
          covering December 1,
          2012 to December 1,
          2013
    32.   Any exhibit introduced
          by any other party
    33.   Any exhibits necessary
          for rebuttal or
          impeachment

                                       WITNESSES

      The Sandy Hook Families may call:

      1. Any witness listed by any other party.

      2. Any witness necessary for impeachment or rebuttal.

      The Sandy Hook Families reserve the right to amend or supplement this Exhibit and
   Witness List as necessary in advance of the hearing.

  Dated: September 29, 2020
         Huntsville, Alabama

                                                  Respectfully submitted,

                                                  By: /s/ Tazewell T. Shepard IV
                                                   Tazewell T. Shepard III
                                                   Tazewell T. Shepard IV
                                                   State Bar No. 24004246
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                                           - and -

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